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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


VERITEXT CORPORATION                     *      CIVIL ACTION NO. 16-13903
                                                              c/w 17-09877
                     Plaintiff
                                        *       SECTION B; DIVISION 2

VERSUS                                   *      JUDGE IVAN L.R. LEMELLE

JOHN J. LEE, ET AL                              JUDGE MAGISTRATE JOSEPH C.
                                                WILKINSON
                     Defendants

                   Filing Applies To Civil Action No. 17-09877 Only
****************************************

            MEMORANDUM IN REPLY TO PLAINTIFF ESQUIRE
 DEPOSITION SOLUTIONS’ OPPOSITION TO MOTION TO DISMISS COMPLAINT

MAY IT PLEASE THE COURT:

        Defendants JOHN J. LEE, JR., KIMYA H. HOLMES, LAURA PUTNAM, JOHN H.

ANDRESSEN, VINCENT P. BORRELLO, JR., MILTON DONEGAN, JR., SUZETTE

MAGEE, MAY F. DUNN, and ELIZABETH C. METHVIN, in their official capacities as

members of the Louisiana Board of Examiners of Certified Shorthand Reporters, and JOHN H.

ANDRESSEN, VINCENT P. BORRELLO, JR., MILTON DONEGAN, JR., SUZETTE

MAGEE, MAY F. DUNN, and ELIZABETH C. METHVIN, in their individual capacities

(collectively, “these Defendants” or “the Board Members”) respectfully submit this

Memorandum in Reply to the Opposition to Motion to Dismiss Complaint filed by Plaintiff,

ESQUIRE DEPOSITION SOLUTIONS, LLC (“Esquire”).



I.   Correction of The Plaintiff’s Misstatement of the Holding of The Fifth Circuit Court
     of Appeals in Veritext v. Bonin.

        In its Opposition, Esquire omitted the fact that the Fifth Circuit Court of Appeals
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affirmed this Court’s dismissal of Esquire’s equal protection claim in Veritext vs. Bonin and that

this Court is bound by that ruling in this case. Esquire states that in Veritext, the Fifth Circuit

“affirmed the dismissal of the due process and dormant commerce clause claims” and that “[T]he

parties have agreed that the Fifth Circuit decision is binding in both cases and to not re-litigate

the antitrust, due process, and dormant commerce clause issues decided by the Fifth Circuit.”

Opposition [Rec. Doc. 96] at 2. In fact, the Fifth Circuit also affirmed this Court’s dismissal of

Veritext’s equal protection claim. Opinion [Rec. Doc. 44] at 3. That ruling is equally binding in

both cases, and, therefore, should not be re-litigated now.



II.   Article 1434 Is Not Vague. 1

         Esquire argues that Article 1434 is unconstitutionally vague because:

       [It] provides no guidance about whether: “(1) the statute prohibits all agreements between
       court reporters and party litigants; (2) the statute requires party litigants to engage court
       reporters through their attorneys; (3) the statute permits an agreement for a single
       engagement but prohibits long term agreements; (4) the statute prohibits court reporters
       from offering volume-based price discounts or service concessions to frequent customers;
       (5) the statute prohibits referrals from court reporting firms; or (6) the statute prohibits a
       combination of the above or something else entirely.”

Opposition [Doc. Rec. 96] at 20.

         As to Esquire’s #1 argument, Article 1434 provides explicit guidance, articulating a

two-part prohibition on agreements between Louisiana court reporters and party litigants that is

unambiguous:




1
      At the outset, the Board Members respectfully submit that this Court should decide the
      vagueness issue as a matter of law. U.S. v. Garth, 773 F.2d 1469, 1479 fn. 10 (5th Cir.
      1985).
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       Subsection (A)(1) is stated in the affirmative, but its prohibition is nonetheless quite

     clear: “A deposition shall be taken before an officer . . ., who is not an employee . . . of any

     of the parties” (emphasis added).

       Subsection (A)(2) unambiguously answers the question that seems so troubling to

     Esquire (Who is “an employee”?) by providing this definition of an employee—”a person

     who has a contractual relationship with a party litigant to provide shorthand reporting or

     other court reporting services” (emphasis added).”

In Article 1434(A)(1) and (2), the Louisiana Legislature could not have been clearer in

prohibiting contractual relationships between a court reporter and a party litigant.

         The Fifth Circuit Court of Appeals concurred, ruling, “[Article 1434’s] ban on private

court reporting arrangements is clearly articulated, as Article 1434 does indeed bar contracts

between private court reporting services and private litigants.” Opinion [Rec. Doc. 82-1] at 5.

(Emphasis and bracketed portion added.)

         The recent Supreme Court case cited by Esquire lends further weight to the legitimacy

of Article 1434, when it requires that people have “fair notice” of a law’s meaning and that

“Congress [for our purposes, the Louisiana Legislature], rather than the executive or judicial

branch, define what conduct is sanctionable and what is not.” Sessions v. Dimaya, 136 S.Ct.

1204, 1212 (2018). Clearly, Louisiana’s court reporters and Esquire have had fair notice about

the meaning of Article 1434 and its prohibition on contractual relationships between a court

reporter and a party litigant. Additionally, as per Dimaya at 1212, the Supreme Court “has stated

that ’[t]he degree of vagueness that the Constitution [allows] depends in part on the nature of the

enactment’” and has “expressed greater tolerance of enactments with civil rather than criminal

penalties because the consequences of imprecision are qualitatively less severe.” In Article



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1434, we have a civil provision directly from the Louisiana Legislature that has been interpreted

by the U.S. Fifth Circuit Court of Appeals. Weigh the specificity of its interpretation against

Esquire’s assertion that Article 1434 provides “no guidance” on whether “all agreements

between court reporters and party litigants” are prohibited, and Esquire’s argument #1 will be

found wanting.

         Esquire’s fundamental problem with Article 1434 does not flow from its prohibition on

direct contractual relationships between court reporters and parties litigants. Rather, Esquire

seeks to overturn the second prohibition found in Article 1434(A)(2)—the indirect contractual

relationship that arises when a court reporter is employed “by a person who has a contractual

relationship with a party litigant to provide shorthand reporting or other court reporting

services.” This indirect relationship through an intermediary is equally prohibited by Article

1434—and the prohibition is equally unambiguous. Esquire unleashes a barrage of arguments

and quotes selectively from Article 1434 to buttress its claims.

         The short answer to argument #2 is that Esquire is neither a party litigant nor an

attorney, and its hypothetical should be left to argument by the parties allegedly impacted. 2

Going further, nothing in Article 1434 requires a party litigant to engage court reporters through

an attorney, although as a practical matter, attorneys do often hire the court reporter.

         Esquire’s #3 and #4 arguments are based on two faulty premises wholly created and

repeatedly propounded by Esquire: that Article 1434 allows an agreement for a single

engagement but then prohibits long-term agreements; and that Article 1434 prohibits court

reporters from offering volume-based price discounts or service concessions to frequent

customers. Neither the CSR Board nor Article 1434 prohibit long-term contracts or volume-



2
     United States v. Thomas, 877 F.3d 591, 599 (5th Cir. 2017).

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based price discounts, though Esquire continually advances these faulty propositions. Indeed,

we wholeheartedly agree with Esquire’s assertion at page 21 of its Opposition that “the plain text

of Article 1434 does not ban volume-based discounts.” We likewise agree with Esquire’s

assertion at pages 20-21 that “nothing in the [CSR Board’s] ethical rules for court reporters can

be reasonably interpreted to prohibit volume-based discounts.” (Bracketed material added.)

After closely examining what Esquire calls the “only ethical rules potentially applicable to

pricing,” Esquire concludes that “They say nothing about volume discounts.” Again, we agree:

By its own assertions in the Opposition Memorandum, Esquire’s two faulty propositions about

“long-term contracts” and “volume-based discounts” are nowhere articulated in CSR Board

statutes or rules or in the terminology of Article 1434. Article 1434 does prohibit all contracts

between a Louisiana court reporter and a party litigant, as shown above in our response to

Esquire’s #1 argument, but that clear and unambiguous prohibition applies regardless of whether

the contracts are short-term or long-term, whether they include a volume-based discount or not.

         As to Esquire’s argument #5, Article 1434 does not prohibit referrals from court

reporting firms—unless of course the referral is to a party litigant; and its “combination”

argument #6 requires no response.

         Article 1434 is not vague. All contractual relationships (whether direct or indirect)

between the reporter and a party litigant are prohibited in subsection (A)(1), and subsection

(A)(2) gives two specific examples of prohibited direct and indirect contractual relationships.

What could be clearer?



III. Esquire’s Argument About the “Overbreadth” of Article 1434 Is Ill-Founded and
     Borders on Frivolous.




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         At page 21, Esquire criticizes “the overbreadth of a statute which purports to render all

contracts with court reporters illegal.” If there’s “overbreadth” to be found here, it’s in Esquire’s

representation that Article 1434 “purports to render all contracts with court reporters illegal.”

Article 1434 does not purport to render all contracts with court reporters illegal, only those with

a party litigant; to argue otherwise, as Esquire does, would produce an absurd result. 3

         But Esquire does go further into absurdity at page 21 by suggesting that Article 1434

“seems to foreclose an attorney or other representative from employing a court reporter,” then

selectively quotes the contractual prohibition as follows: “part or full time under contract or

otherwise by a person who has a contractual relationship with a party litigant.” Esquire’s

argument is misguided—and misleading.

         Compare the truncated quote above with Article 1434’s actual language prohibiting

reporters from being “employed part or full time under contract or otherwise by a person who

has a contractual relationship with a party litigant to provide shorthand reporting or other court

reporting services.” (Emphasis added.) The limiting language in italics, wholly omitted by

Esquire, makes plain that the prohibition applies not to “all contracts” (as Esquire asserts) but

only to contracts “to provide shorthand reporting or other court reporting services.” An attorney

may have a contractual relationship with a party litigant, but the lawyer’s contract is not to

provide shorthand or court reporting services. The attorney is hired to provide legal services; the

attorney may in turn may hire court reporters to provide deposition services. All of this is

permissible under Article 1434.




3
     Esquire’s interpretation of Article 1434 to “render all contracts with court reporters illegal”
     is an absurd result that this Court must avoid. Cross v. Monett R-I Board of Education, 431
     F.3d 606, 610 (8th Cir. 2005).
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         Esquire’s argument that Article 1434 prohibits “all contracts with court reporters” is

overbroad, bordering on frivolous.



IV. Esquire’s Argument That Article 1434 Does Not Apply to Contracts Between Esquire
    and Louisiana Court Reporters Is Frivolous.

         At page 22 of its Opposition, Esquire argues:

       […] Firms like Esquire and Veritext do not directly employ court reporters in
     Louisiana, but rather contract with local reporters to provide such services as “back
     office” services and invoicing, among other things. The statute seemingly does not
     include contracts Esquire has with local reporters to provide these services, or
     contracts it may have with insurance companies, yet the Board seems to believe the
     Article curtails this.

         Esquire’s disingenuous characterization of itself simply as a provider of services to

local court reporters and therefore not subject to Article 1434 is diametrically opposed to

Esquire’s previous characterizations of its business model. At page 4 of its Opposition, Esquire

states, while citing to its Complaint:

       Esquire provides court reporting service to clients in depositions, arbitrations, and
     other proceedings throughout the United States, including Louisiana. Solo and small-
     firm court reporters contract with Esquire to increase their volume of work and
     reduce their administrative burdens. Compl. ¶ 23. Esquire pays affiliated court
     reporters a fee for their services, performs back office tasks, and assumes risk of
     nonpayment. Id. ¶ 24. This arrangement reduces the costs and financial risk to court
     reporters. Id. Consumers (typically insurance companies, large companies,
     government agencies, regulatory authorities, educational institutions, and other high
     volume users of transcription services) also benefit from the arrangement through
     price discounts and reduced information costs associated with using a single service.
     Id. ¶ 21.

This description of Esquire’s business model confirms that Esquire may well be “a person who

has a contractual relationship with a party litigant to provide shorthand reporting or other court

reporting services” within the meaning of Article 1434. Therefore, far from being a mere




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provider of services to local court reporters, Esquire will by its own allegations sometimes fall

within the terms of Article 1434. 4 Esquire errs in arguing otherwise.



V. CONCLUSION

         For the foregoing reasons, the CSR Board respectfully requests that the Court grant the

pending Motion and dismiss Esquire’s Complaint pursuant to Federal Rule of Civil Procedure

12(b)(6).

                                Respectfully submitted:

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       Of course, if Esquire’s client is not a party litigant, Article 1434 does not apply.
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